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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        (MIAMI DIVISION)


  JANE DOE,
                                                         CASE NO: 1:25-cv-20757-JB/Torres
  Plaintiff,

  v.

  STEVEN K. BONNELL II,

  Defendant.
  ____________________________________/

                UNSWORN STATEMENT UNDER PENALTY OF PERJURY OF
                   PLAINTIFF JANE DOE PURSUANT TO 28 U.S.C. § 1746


  I, Jane Doe, declare as follows:

           1.     I am over 18 years of age, and competent to provide testimony under oath.

           2.     I have personal knowledge of the matters herein and, if called to testify at the trial

  of this matter, I could competently testify as to the facts contained in this affidavit.

           3.     I am a live streamer using the screen name Pxie. In early 2020, I was

  communicating with Steven Bonnell, II (“Bonnell” or “Destiny”) via direct messages on the

  Discord platform and/or X. Our messages included some private sexual content. We discussed

  meeting at a hotel to get acquainted intimately and the possibility of videoing our intimate

  relations.

           4.     In or about early February 2020, prior to meeting Bonnell at the hotel, I expressed

  to him in a direct message my concerns for privacy: “[P]ublicly I’m okay with people knowing

  we’re hanging out but if anyone asks questions about having sex or anything along those lines I

  rather deny and keep that private between us.”

           5.     On or about September 12, 2020, after multiple conversations about consent and

  boundaries, I engaged in sexual relations with Bonnell at a hotel in Miami. During this one and
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  only sexual encounter, Bonnell recorded videos of our sexual relations (the “Videos”). I again

  discussed my privacy concerns regarding our relations and the Videos directly with Bonnell while

  we were at the hotel.

           6.     I reiterated my privacy concerns again in March of 2023, when a woman publicly

  alleged that I (Pxie) had sexual relations with Destiny, whereupon I messaged Destiny and asked

  him if he had told anyone about our relations. He denied telling anyone other than his wife. I

  affirmed that, “No one knows either on my end (except my ex-bf).”

           7.     On or about November 29, 2024, one of the sexually explicit Videos (the “Video”)

  that Bonnell recorded during our September 12, 2020 meeting was uploaded on to the website

  Kiwifarms. The Video was also shared on multiple other pornography websites including

  https://notfans.com, https://thothub.cam, pornbiz.com, epawg.com, and erome.com. The caption

  on the Video on the different platforms identify both “Destiny” and “Pxie”. My face is visible and

  identifiable in the Video.

           8.     On the evening of November 29, 2024, I sent a message to Bonnell on Discord

  expressing my horror that he had shared the Video. Bonnell admitted that he had shared the Video,

  without my knowledge or consent, with a random fan by the screen name Rose. Bonnell informed

  me that Rose was one of his fans with whom he had been messaging but had never met. He did

  not know her real name or her real age.

           9.     I asked Bonnell if he had shared the Videos with anyone else. He responded:

  “Ughhhh there shouldn’t be no, I’m so sorry there’s literally no excuse, I’d had phone convos and

  stuff with this person they were fairly close to me, it’s worthless to say it at this point but I’m super

  sorry, there’s literally no excuse.” I then asked him to delete any and all Videos that he had of me.
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        10.      In or about January 2025, one of my followers informed me that Bonnell had sent

  the Video to my follower’s sister about two months earlier.

        11.      Towards the end of January 2025, after two months of speculation and controversy,

  I finally decided to tell my followers the truth. I told them that Bonnell had shared the Video

  without my consent or knowledge and that I was devastated by it. Shortly after that, Bonnell went

  on the attack. He told his tens of thousands of followers that I was only interested in money, and

  that I was extorting him.

        12.      And on February 19, 2025, Destiny live-streamed to his tens of thousands of

  followers on his Youtube platform his “statement” about the events concerning the dissemination

  of                           the                              Video.                           See

  https://drive.google.com/file/d/1eyDdBE1AWdSSg4ury6Bomk1Mxyrh2uhF/view Commencing

  at minute 53 of the recording, Bonnell tells his followers intimate sexual details about me that I

  had shared with him through our private messages. He even posted screen shots of some of our

  private messages containing explicit sexual details. These were screen shots of messages

  exchanged with Bonnell before I met him in person at the hotel, many of a sexual intimate nature.

  I believed these messages would be kept private since they were never intended to be shared with

  anyone else. Instead Bonnell shared them with tens of thousands of people.

        13.      On February 21, 2025, Bonnell tells his entire Discord community that I was dating

  my supervisor at my prior job and that the supervisor was “like 25 years older.” This was a

  deliberate untruth meant only to harass me. I had told Bonnell that I dated this man briefly but it

  had ended prior to his starting work at the company. There was no reason for Bonnell to believe

  that the man was ever my supervisor or that he was 25 years older than me, because he was not. I
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  believe that Bonnell said this untruth deliberately to retaliate against me for initiating this lawsuit

  because he knew I had a fear of people accusing me of “sleeping my way to the top.”

        14.       Bonnell’s unauthorized sharing of the Video and of our private messages, as well

  as the horrible untrue things he has been saying about me, has caused me extreme distress. The

  thought that tens of thousands of people, not just strangers but also people that I know, have seen

  the Video and the private messages and read these lies made me depressed to the point that I have

  been having suicidal thoughts. I felt as though I could not overcome the shame and humiliation,

  and it would just be easier to end my life. Despite efforts to have the Video removed from the

  different sites, they are still there and available to the public, so my humiliation is on-going.

        15.       I have had trouble concentrating and spend days unable to get out of bed and unable

  to stop crying. I am terrified that I will bump into someone that has seen the Video and recognize

  me, so I have had difficulty leaving my home. I am also terrified that Bonnell will continue to

  share the videos of me, or my private messages, with other people. I have had recurring nightmares

  about people looking at the videos. I also have extreme anxiety about the long-term impact that

  the publication of the Video and my private messages will have on my future, both personal and

  professional.

        16.       In or around the end of January, 2025, approximately fifteen women reached out to

  me and told me that they had received sexually explicit images from Bonnell of other women

  without the other women’s consent. Numerous women, including Bonnell’s ex-wife Melina

  Göransson, and Stasia (screen name), have recently come forward and publicly alleged that

  Bonnell has released sexually explicit videos of them without their consent. These images were

  then posted on different pornography websites without their consent. A woman with the screen

  name Chaeiry, posted on X that she recently found out that Bonnell had secretly made an
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  unauthorized audio recording of their sexual interaction, and then had distributed it to multiple

  people without her knowledge or consent.

        17.      As early as January 21, 2025, aware of the impending lawsuit and potential

  criminal investigation, Bonnell starts destroying evidence, including deleting messages between

  me and him. See, https://imgur.com/9U81Pfg. This is a link to a chat thread on X between me

  and Destiny on December 12, 2024 where it shows my messages and instead of Destiny’s

  responses it now shows “Original message was deleted.”

        18.      Almost all of the women who informed me in late January that they had received

  sexually explicit images from Bonnell of other women without the other women’s consent (see

  above), also tell me that Bonnell deleted their chat threads after January 23, 2025.

         19.     A streamer by the name of Ahsoka Bun-o messaged me recently and informed me

  that Bonnell had deleted all messages between them regarding his non-consensual sharing of

  videos: “I had messaged destiny in the past and was sent videos of him with women. I didn't

  recognize any of the people in the videos bar one that seems to have included Melina [Destiny’s

  ex-wife], but I assumed it was consensual. I don't know if it helps at all but some proof I did

  converse with him and that now there's no messages.” See https://imgur.com/CtBX1Oi. In

  February, Bonnell also deleted all of his direct messages with a follower by the screen name of

  pskodynamic, with whom he had shared videos of other women without their consent. See

  https://imgur.com/lZcLl0E.
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